            Case 1:14-cv-02749-JKB Document 35 Filed 05/16/17 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *

MICHAEL C. WORSHAM,                              *

       Plaintiff                                 *

       v.                                        *                 CIVIL NO. JKB-14-2749

TRAVEL OPTIONS, INC.,                            *

       Defendant                                 *
       *     *        *       *      *       *       *      *      *       *      *       *

                                            ORDER

       Upon consideration of the Motion of Plaintiff / Judgment Creditor Michael C. Worsham

for an Order Compelling Defendant / Judgment Debtor Travel Options, Inc., to Respond to

Worsham’s Interrogatories in Aid of Execution (ECF No. 34), which motion is unopposed, the

motion IS GRANTED. Travel Options, Inc., SHALL RESPOND to the interrogatories in aid of

execution within 21 days after service of this Order. The Clerk shall send a copy of this Order to

Plaintiff at the address on file with the Court and a copy to Travel Options, Inc., 50 NE 26th

Avenue, Suite 201, Pompano Beach, FL 33062.


DATED this 16th day of May, 2017.


                                                     BY THE COURT:


                                                     _____________/s/_____________________
                                                     James K. Bredar
                                                     United States District Judge
